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 1   NEXUS BANKRUPTCY
     BENJAMIN HESTON (297798)
 2   100 Bayview Circle #100
     Newport Beach, CA 92660
 3   Tel: 951.290.2827
     ben@nexusbk.com
 4
     Attorney for Plaintiff
 5

 6   LAW OFFICE OF DONALD REID
     DONALD W. REID (281743)
 7   PO Box 2227
     Fallbrook, CA 92088
 8   Tel: 951-777-2460
     don@donreidlaw.com
 9
     Attorney for Defendant
10

11                          UNITED STATES BANKRUPTCY COURT

12                            CENTRAL DISTRICT OF CALIFORNIA

13                                  RIVERSIDE DIVISION

14
      In re:                                    Case No.: 6:21-bk-11329-SC
15
      MICHAEL PAUL NEWMAN,                      Chapter 7
16
               Debtor.                          Adv. No.: 6:21-ap-01071-SC
17
                                                JOINT EXHIBIT LIST
18
      CHLOE TAEKYEONG LEE,                      Pre-Trial Conference
19                                              Date: October 31, 2023
               Plaintiff,                       Time: 9:30 AM
20                                              Courtroom 126
      v.
21
      MICHAEL PAUL NEWMAN,
22
               Defendant.
23

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 1            Plaintiff, Chloe Taekyeong Lee, and Defendant, Michael Paul Newman, hereby

 2   submit the following list of exhibits which may be used a trial:
 3
       EX                 DESCRIPTION                     STIPULATED   OBJECTED   ADMITTED
 4      1.     Accident report
 5             1/6/2015 email from Lindy Park to
        2.
               NEWMAN with insurance information
 6
        3.     6/15/2015 demand letter
 7
               Draft of complaint, dated 9/5/2015
        4.
 8             prepared by NEWMAN

 9             1/20/2016 email from NEWMAN to
        5.
               Lindy Park re: retainer
10
               1/21/2016 email from Lindy Park to
11      6.     Allen Kim re: putting 15% in
               NEWMAN’s retainer agreement
12
               1/21/2016 letter from NEWMAN to
13      7.     insurance adjuster with retainer
               agreement
14
        8.     1/26/2016 letter from Lyons to Ponce
15             2/23/2016 email from insurance
        9.
               adjustor re: settlement acceptance
16
            2/26/2016 email chain with draft of
17      10. agreement between LEE and Arms
            Logistics
18
               5% retainer agreement between
19      11.
               NEWMAN and LEE
20             15% retainer agreement between
        12.
               NEWMAN and LEE
21
            Draft One of agreements between LEE
22      13. and Arms Logistics prepared by
            NEWMAN
23
            Draft Two of agreements between LEE
24      14. and Arms Logistics prepared by
            NEWMAN
25
        15. 3/16/2016 release of claims
26
               3/16/2016 agreement between LEE and
        16.
27             Arms Logistics

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 1    EX                DESCRIPTION                    STIPULATED   OBJECTED   ADMITTED
 2           3/28/2016 summary of expenses to be
       17.
             paid
 3
             7/11/2019 email from Hudrlik to
       18.
 4           NEWMAN

 5         8/2/2016 NEWMAN’s letter to LEE
       19. terminating representation (with
 6         attachments)

 7           8/2/2016 email from LEE to
       20.
             NEWMAN re: fees
 8
           8/23/2016 letter from NEWMAN to
 9     21. LEE with refund from Collection
           Consultants
10
           NEWMAN’s bank statement reflecting
11     22. payment of $150,000 to NEWMAN
           from LEE’s settlement funds
12
       23. Insurance company notes from 2015
13     24. Insurance company notes from 2016
14     25. OMITTED
15           Summary of payments to NEWMAN
       26.
             by Caravan Canopy
16
           Explanation charges, final bill, and lien
17     27. forms provided to NEWMAN by
           Collection Consultants and Providence
18
             5/19/2016 letter from NEWMAN to
       28.
19           Providence re: reduction of bills
             5/31/2016 letter from Providence to
20     29.
             NEWMAN re: discount
21           5/31/2016 letter from NEWMAN to
       30.
             Providence with checks enclosed
22
           7/29/2016 letter from NEWMAN to
23     31. Collection Consultants/Providence re:
24         amount billed
           8/18/2016 letter from Collection
25     32. Consultations to NEWMAN with a
26         refund check

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 1    EX               DESCRIPTION                     STIPULATED   OBJECTED   ADMITTED
 2         4/7/2016 fax from NEWMAN to
       33. Collection Wizards requesting
 3         itemized final bill
 4           4/7/2016 response letter from
       34.
             Collection Wizards to NEWMAN
 5
           3/28/2016 notice of lien sent to
 6     35. NEWMAN by Rawlings Company
           with forms and claim information
 7
           4/5/2016 letter from Rawlings to
 8     36. NEWMAN with summary of paid
           claims
 9
           4/27/2017 letter from NEWMAN to
10     37. Rawlings Company re: reduction of
           bill
11
             4/29/2016 letter from NEWMAN to
       38.
12           Rawlings Company accepting discount
13           NEWMAN’s responses to special
       39.
             interrogatories dated 12/15/2017
14
       40. OMITTED
15     41. Letter from State Bar
16     42. Settlement Accounting
17           E-mail dated 02/26/2016 from Lindy
       43.
             Park
18
       44. OMITTED
19     45. OMITTED
20     46. OMITTED
21     47. OMITTED
       48. OMITTED
22
       49. OMITTED
23
       50. OMITTED
24
       51. OMITTED
25     52. OMITTED
26     53. OMITTED
27     54. OMITTED

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 1    EX                DESCRIPTION                       STIPULATED   OBJECTED   ADMITTED
 2     55. OMITTED

 3           Check #1002 from US Bank account
       56.
             #2449
 4
       57. ARMS’s Accounting of $130,000
 5     58. OMITTED
 6           Lee’s Bank Statement from 08/19/2016
       59.
             to 09/16/2016
 7
       60. OMITTED
 8
       61. OMITTED
 9           Newman’s Lease Application dated
       62.
             4/12/2016
10
                                       STATE COURT ACTION
11
       63. State Court Complaint
12
             Transcript of State Court Trial:
       64.
13           Volume One
             Transcript of State Court Trial:
14     65.
             Volume Two
15           Transcript of State Court Trial:
       66.
             Volume Three
16
             State Court judgment and findings of
17     67.
             fact
18     68. California Court of Appeals Decision
19           California Supreme Court Decision on
       69.
             Appeal
20
                                         STATE BAR ACTION
21     70. State Bar notice of disciplinary charges
22           NEWMAN’s response to State Bar’s
       71.
             disciplinary charges
23
             NEWMAN’s response to State Bar’s
       72.
24           disciplinary charges
25     73. State Bar’s Pre-Trial Statement
             State Bar and NEWMAN’s stipulation
26     74.
             as to facts and admission of documents
27

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 1     EX               DESCRIPTION                    STIPULATED   OBJECTED   ADMITTED
 2           NEWMAN’s closing brief in State Bar
       75.
             action
 3
             State Bar Trial Transcript:
       76.
 4           Volume One

 5           State Bar Trial Transcript:
       77.
             Volume Two
 6
             State Bar Trial Transcript:
       78.
 7           Volume Three
       79. State Bar’s Decision
 8

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                                                         NEXUS BANKRUPTCY
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13
     Date: May 5, 2023                                   _______________________
14                                                       BENJAMIN HESTON,
                                                         Attorney for Plaintiff
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16                                                       LAW OFFICE OF DONALD REID
17

18   Date: May 5, 2023                                   _______________________
                                                         DONALD REID,
19                                                       Attorney for Defendant
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